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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

GARY GRAY, et al., *

Plaintiffs, *

¥: * Civ. No. JKB-24-0897
THE PHILADELPHIA
CONTRIBUTIONSHIP,

Defendant. *

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MEMORANDUM AND ORDER

On September 12, 2024, the Court issued an Order that, inter alia, stayed this action
pending the conclusion of appraisal, and directed the parties to file a written Joint Status Report
updating the Court on the progress of the appraisal process within 60 days. (ECF No. 18.)
Plaintiffs—who are now proceeding pro se—have failed to comply with this requirement, and
instead Defendant filed its own Status Report. (ECF No. 19.)

According to Defendant, “no appraisal is scheduled” despite the parties having had two
months to begin that process. (/d.) Defendant states that the parties have selected their respective
-appraisers, but that Plaintiffs’ selected appraiser has failed to respond to Defendant’s appraiser’s
request to agree on an umpire for the appraisal. (/d.) The Status Report also indicates that Plaintiffs
did not respond to Defendant’s counsel’s proposed joint status report, thus forcing Defendant to
file such report unilaterally. (/d.)

Plaintiffs have failed to comply with the Court’s order. Moreover, it preliminarily appears
to the Court that Plaintiffs are no longer meaningfully participating in this action. The Court may

dismiss the claims of a party who fail to prosecute its case and/or disobeys a court order. See Fed.
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R. Civ. P. 41(c); Nammack v. Hampstead Pre-Owned, Civ. No. DKC-19-1798, 2021 WL 3288368,

at *2 (D. Md. Aug. 2, 2021).

Accordingly, it is ORDERED that:

1.

Plaintiffs SHALL INSTRUCT their appraiser to contact Defendant’s appraiser, select
an umpire, and generally vasa in the appraisal process efficiently and in good
faith forthwith.

The parties SHALL FILE a Joint Status Report by Monday, November 25, 2024,
apprising the Court on the status of the appraisal process.

The parties SHALL COMPLETE the appraisal process by Friday, January 10, 2025.
This date may not be modified except by order of the Court and then only for good
cause shown.

If Plaintiffs fail to comply with any provision of this Memorandum and Order,
including failure to participate in the filing of said Joint Status Report, failure to instruct
their appraiser appropriately, or failure to ensure that appraisal is completed by the date
set above, the Court expects to favorably entertain a motion by Defendant for sanctions,

up to and including dismissal of the case.

DATED this_/ 3 day of November, 2024.

BY THE COURT:

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James K. Bredar
United States District Judge

